Case 2:04-cr-20183-SH|\/| Document 150 Filed 04/25/05 Page 1 of 2 PagelD 164

iN THE UN|TED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE 05
WESTERN D|V|S|ON

 

UN|TED STATES OF AMER|CA \f.i.D. Gr~ 114, ivi;-.- v.‘r"i@i$

:-;:-.~»¢o

Plaintiff

VS_
CR. NO. 04-20183-[)

L|SA SUE TERRY

Defendant.

 

oRDER oN coNTlNuANcE AND sPEchYlNo PERloo ol= E><ctquBl_E DELAY
AND Y.T_T|M

 

This cause came on for a report date on April 19, 2005. At that time, counsel forthe
defendant requested a continuance of the l\/lay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a w
date of Thursdav. June 30. 2005. at 9:00 a.m.. in Courtroom 3. 9th Floor of the Federal
Building, l\/|emphis, TN.

The period from lVlay 13, 2005 through Ju|y 15, 2005 is excludable under 18 U.S.C.
§ 3161(h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time to
prepare outweigh the need for a speedy trial.

/`
lT is so oRDERED this §§ day oprril, 2005.

BE |CE B. NALD
UN|TED STATES DISTR|CT JUDGE

This document entered on the docket sheet ln compliance
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Honorable Bernice Donald
US DISTRICT COURT

